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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

V.                                                   Criminal No. RDB-14-0186
                                                     Civil No. RDB-19-2312
RICHARD C. BYRD,
     Defendant.


                                                   ORDER


        UPON CONSIDERATION of Defendant Richard C. Byrd's Motion to Seal Memorandum,

and all papers and arguments submitted in support,

        IT IS HEREBY ORDERED that Mr. Byrd's Motion is GRANTED for the reasons set forth

in the Motion, and that the Memorandum is SEALED.




                  :cu^\V .                                 M
                                            Liam                 b^Sict Judge
                                            United States District Judge
